Case 2:22-cv-14102-DMM Document 217-2 Entered on FLSD Docket 07/12/2022 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 22-CV-14102-MIDDLEBROOKS/HUNT

   DONALD J. TRUMP,

   Plaintiff,

   v.

   HILLARY R. CLINTON et al.,

   Defendants.


                          ORDER GRANTING MOTION TO APPEAR
                 PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
                ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

           THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for

   John M. McNichols, Consent to Designation, and Request to Electronically Receive Notices of

   Electronic Filing (JMcNichols@wc.com), pursuant to the Rules Governing the Admission,

   Practice, Peer Review, and Discipline of Attorneys in the United States District Court for the

   Southern District of Florida and Section 2B of the CM/ECF Administrative Procedures. This Court

   having considered the motion and all other relevant factors, it is hereby

           ORDERED AND ADJUDGED that:

           The Motion is GRANTED. John M. McNichols, may appear and participate in this action

   on behalf of Neustar Security Services. The Clerk shall provide electronic notification of all

   electronic filings to John M. McNichols, at JMcNichols@wc.com.

           DONE AND ORDERED in Chambers at ____________________, Florida, this ____ day

   of _________________.

                                                        ____________________________________
                                                        DONALD M. MIDDLEBROOKS
                                                        UNITED STATES DISTRICT JUDGE
Case 2:22-cv-14102-DMM Document 217-2 Entered on FLSD Docket 07/12/2022 Page 2 of 2




   cc:   All Counsel of Record
